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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA


  FRANKLIN ARMORY HOLDINGS, INC., a
  Nevada Corporation; and FRANKLIN
  ARMORY, INC., a Nevada Corporation,            CIVIL ACTION NO. 2:20-CV-5681

                         Plaintiffs,
  v.

  ROBERT JOSEPH GALLAGHER, an
  individual; and IN THE FIELD DEFENSE, a
  sole proprietorship,

                         Defendants.

______________________________________________________________________________

DEFENDANTS’ REPLY BRIEF IN SUPPORT OF MOTION TO STAY LITIGATION IN
    VIEW OF FINAL REJECTION OF ‘461 PATENT UNDER REEXAMINATION
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       Defendants, Robert Joseph Gallagher and In The Field Defense, a sole proprietorship

(together, the “Defendants”) submit this Reply Brief in support of their Motion to Stay the

litigation pending the resolution of any appeal of the United States Patent and Trademark

Office’s (“USPTO”) recent final rejection of the ‘461 Patent.

                                         INTRODUCTION

       Plaintiffs’ opposition relies on misleading citations and spurious claims of improper

conduct to distract the Court from a simple fact: the USPTO has issued a final rejection of all the

claims in the ‘461 Patent. Pending an (unlikely) successful appeal from the USPTO’s final

rejection, Plaintiffs’ claims in the present litigation are no longer viable. Similarly, Plaintiffs’

allegations of prejudice are belied by the fact that, under the present procedural posture of this

litigation and the USPTO action, Plaintiffs no longer have a valid patent. To be sure, both the

status of the litigation and associated simplification of the issues strongly support a stay.

                                            ARGUMENT

A.     Defendants Complied with Any Meet and Confer Obligations

       Plaintiffs claim that Defendants failed to comply with the Court’s meet and confer

obligations before filing the present motion. This is incorrect. Section II.C. of the Court’s

Guidelines for Counsel is applicable to General Motion Practice in Civil Cases, and requires the

parties to meet and confer before filing a motion pursuant to Fed. R. Civ. Proc. 12(b)(6), (e), or

(f). Defendants’ present motion does not seek relief under Rule 12(b)(6), (e), or (f).

       Plaintiffs incorrectly cite to Section V of the Court’s Guidelines for Counsel, which

relates to “Other Matters”. Section V.B. instructs, in relevant part, that, “[i]n general, Judge

Kenney expects counsel to bring matters to his attention only after they have been discussed with

opposing counsel.” Defendants understand this provision to relate to discovery disputes and

other issues that would not fall under the more specific provisions governing General Motion


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Practice. Nevertheless, as reflected in the June 3, 2021 Report of Rule 26(f) Meeting (ECF Doc.

No. 25), the parties conferred via telephone on May 14, 2021 and May 28, 2021 and expressly

discussed a potential stay of the litigation pending the USPTO’s reexamination. In Section III of

the Report, Plaintiffs indicated that they “disagreed that a stay was necessary” and “Defendants

would need to file a formal motion to stay (as Defendants previously indicated they would be

filing) in order for the Court to properly determine whether any stay is warranted.” [Id.]. Thus,

even if a meet and confer was required by the Court, Defendants have plainly complied with

such obligations.

B.     A Stay Would Not Unduly Prejudice Plaintiffs or Present a Tactical Advantage to
       Defendants

       1.      The Risk of Irreparable Harm to Plaintiffs Is Minimal

       Plaintiffs argue that they will be irreparably harmed by a stay because the parties are

direct competitors. However, when (as here) the patent at issue stands finally rejected, courts

routinely find a stay is warranted given that the likelihood of prejudice to plaintiff is minimal.

Compare Bos. Sci. Corp. v. Cordis Corp., 777 F. Supp. 2d 783, 789 (D. Del. 2011) (denying a

stay where “[n]o final rejection has been issued”); with Fairchild Semiconductor Corp. v. Power

Integrations, Inc., 100 F. Supp. 3d 357, 363 (D. Del. 2015) (“the fact that all asserted claims of

the ‘972 patent stand finally rejected on reexamination and the low statistical likelihood of

[plaintiff] obtaining success on appeal both favor[] a stay”) (citations omitted); Traffic Info.,

LLC v. Huawei Techs. Co., No. 2:10-CV-145, 2012 WL 12892435, at *5 (E.D. Tex. May 30,

2012) (Because the plaintiff’s “only hope is a successful appeal to the [Board of Patent Appeals

and Interferences] and the Federal Circuit”, the “Defendants will suffer needless prejudice if they

are forced to litigate these cases now, including time-consuming and costly discovery.”); United




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Sweetener USA, Inc. v. Nutrasweet Co., 766 F. Supp. 212, 218 (D. Del. 1991) (staying the

proceeding following a final rejection of the patent at issue by the USPTO).

       Further, when the plaintiff “never sought a preliminary injunction, [it] suggests that any

prejudice to [plaintiff] that might result from delaying the ultimate resolution of this dispute is

not as severe as it contends.” Destination Maternity Corp. v. Target Corp., 12 F. Supp. 3d 762,

768 (E.D. Pa. 2014) (quoting Ever Win Int'l Corp. v. Radioshack Corp., 902 F. Supp. 2d 503,

511 (D. Del. 2012)). Plaintiffs’ failure to seek a preliminary injunction in the present case

similarly suggests that “irreparable harm” does not exist. Plaintiffs argue that their decision not

to seek a preliminary injunction “merely reflects their determination that Plaintiffs would likely

be unable to satisfy the high burden of proof necessary to support a preliminary injunction

without first obtaining discovery from Defendants.” (Opposition at 11). This self-serving and

conclusory argument is unpersuasive under the circumstances of the present case – especially

given the USPTO’s final rejection of the ‘461 Patent.

       2.      Plaintiffs’ Claims of Prejudice Based on Delay Are Meritless

       Plaintiffs argue that delay will prejudice them because it hampers their ability to obtain

fact discovery due to the chance that memories will fade and details will be forgotten. However,

“[d]elay inherent in the reexamination process does not constitute, by itself, undue prejudice.”

Infinity Computer Prod., Inc. v. Samsung Elecs. Am., Inc., 2013 WL 12207507, at *3 (E.D. Pa.

Apr. 30, 2013) (quoting ICI Uniqema, Inc. v. Kobo Prods., Inc., 2009 WL 4034829, at *2

(D.N.J. Nov. 20, 2009). There is no special risk here that the individuals with discoverable

information will die or that the information will be lost beyond the risks inherent in any delay of

a proceeding. As such, Plaintiffs claims of prejudice based on delay are unfounded.




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       3.      A Stay Would Not Present Defendants with a Tactical Advantage

       Plaintiffs take the false (and completely unfounded) position that “Defendants’ request

for a stay pending reexamination is a mere dilatory tactic.” (Opposition at 13). Plaintiffs further

argue that Defendants’ decision to seek ex parte reexamination rather than inter partes review

somehow weighs against a stay. (Opposition at 13). However, Plaintiffs’ only support for this

position is an unreported case in California. No case in this Circuit has ever come to a similar

conclusion and, indeed, it is completely contradictory to the standards employed in this district.

The question at issue is whether the stay itself and the resulting delay would “present a tactical

advantage to the moving party”. In re Laughlin Prod., Inc., 265 F. Supp. 2d 525, 530 (E.D. Pa.

2003). In turn, “the less time that a party waits to file a motion to stay pending reexamination,

the less the movant’s conduct gives rise to an inference that the delay in so doing was

impermissibly tactical”. Arkema Inc. v. Honeywell Int'l, Inc., No. 10-CV-2886, 2013 WL

5356844, at *3 (E.D. Pa. Sept. 25, 2013).

       Here, Defendant broached the issue of a stay early in this litigation and filed the present

motion shortly after the USPTO issued a final rejection of the claims in the ‘461 patent, thus

resolving all of the issues in this case and minimizing any chance of prejudice to Plaintiffs from

the stay. Defendants filed the present motion to avoid the unnecessary costs of litigation and

burden on the court for a case that has been rendered moot. For Plaintiffs to nonetheless claim

that Defendants actions are nothing more than a “dilatory tactic” with no justification is

completely improper.

C.     A Stay Will Simplify the Issues.

       Plaintiffs argue that the reexamination will not simplify the issues in this case because the

reexamination is based on prior art references and Plaintiffs’ falsely maintain that Defendants

have abandoned their argument that the ‘461 patent is invalid based on prior art. As more fully


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explained in Defendants’ Counsels’ motion to withdraw, Defendants have never abandoned these

arguments. More importantly, however, Plaintiffs’ position is inherently contradictory.

Specifically, Plaintiffs paradoxically maintain that there is minimal overlap between the ‘461

Patent Reexamination and this proceeding, even though the USPTO’s final rejection of the

claims in the ‘461 Patent has currently resolved all of the issues in this case. On this fact alone,

Plaintiffs’ position fails.

        Plaintiffs further argue that the final rejection is not truly “final” because they have the

opportunity to propose additional amendments and it is “[o]nly after such a [proposal] has been

made and upon a further determination by the patent examiner that the claims still are not in

condition for reissue can it be correctly stated that an appeal to the PTAB is required to

overcome the rejection.” (Opposition at 16). Plaintiffs’ position misstates the law. Under 37

C.F.R. § 1.116, Plaintiffs may not make proposed amendments prior to an appeal unless they

make “a showing of good and sufficient reasons why the amendment is necessary and was not

earlier presented”. There is no viable reason why Plaintiffs could not have presented a proposed

amendment earlier, and thus the claims in the ‘461 Patent stand finally rejected pending a

successful appeal.

D.      This Case Is Still in Its Early Stages.

        Plaintiffs argue, unconvincingly, that a stay is not merited because the parties have

already expended significant resources on discovery. (Opposition at 16-17). In support of their

position, Plaintiffs cite to Arkema, 2013 WL 5356844, at *7 and Innovative Off. Prod., Inc. v.

Spaceco, Inc., , 2008 WL 4083012, at *2 (E.D. Pa. Aug. 28, 2008), neither of which supports

denial of a stay. Plaintiffs cite to Arkema because the court granted a stay where “no discovery

had yet been conducted on two of the patents subject to reexamination, the parties had not begun

claim construction, and dates had not been set for a Markman hearing, submission of disposition


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motions, or for trial”. (Opposition at 17). However, in Arkema, for the third patent at issue,

“substantial discovery ha[d] taken place”, such that one party “produced over two million

documents, answered hundreds of interrogatories and requests for admissions, took fourteen fact

depositions, provided eleven expert reports, and took five expert depositions”. Arkema, 2013

WL 5356844, at *7. Despite this substantial discovery, the court found that a stay was

appropriate. Id. To be sure, nothing in Arkema indicates that a motion to stay must be filed

before claim construction or the scheduling of a Markman hearing.

        Similarly, while the Innovative court held that “substantial time and resources already

invested in the litigation weighs in favor of a stay”, it did so because “fact discovery and expert

discovery [had] been completed and a trial date [was] pending.” 2008 WL 4083012, at *5. Thus,

the litigation in Innovative was significantly further along in the proceedings. Here, from a

procedural perspective, the matter is still in its infancy.




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                                          CONCLUSION

          For all the foregoing reasons, Defendants’ motion should be granted and this matter

should be stayed pending the resolution of any appeal of the USPTO’s final rejection of the ‘461

Patent.

                                                          Respectfully submitted,

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